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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                              *
UNITED STATES OF AMERICA                      *
                                              *
        v.                                    *            Criminal No. SAG-20-0452
                                              *
                                              *
KEITH POYNTER, JR.                            *
                                              *
                                        * * * * * * *

                                 MEMORANDUM OPINION

        On December 10, 2020, a grand jury returned an indictment against Keith Poynter, Jr. and

others for robbery and firearms-related offenses. ECF 1. Mr. Poynter has filed a motion to

suppress physical evidence seized during a search of his residence, ECF 32, and a motion to

suppress statements he made during custodial interrogation, ECF 33. This Court has considered

those motions, the related briefing (ECF 39, 41), and the evidence presented and arguments made

by counsel at a hearing held on September 9, 2022. For the reasons that follow, Mr. Poynter’s

motions will be denied.

   I.        Motion to Suppress Property

        On December 20, 2019, Baltimore County Police Department detectives arrested

Mr. Poynter on the basis of evidence they developed during a robbery investigation. ECF 39 at 2–

3. During a custodial interview with Detective Kyle Feeley, Mr. Poynter indicated that he had

been staying at 2304 Ashburton Street, Baltimore, Maryland, the address to which his Maryland

Learner’s Instructional Permit had been issued about one month prior. ECF 32 at 2. 2304

Ashburton Street is located in Baltimore City.

        On that same date, Baltimore County officers presented a search warrant for the Ashburton

address to Judge Paul J. Hanley of the Circuit Court for Baltimore County. ECF 32-1. Judge
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Hanley signed the warrant and the police seized evidence from the home during the resulting

search. ECF 32 at 2. Mr. Poynter’s Motion challenges Judge Hanley’s power to order the search

because he is a judge in Baltimore County, not Baltimore City, and because he is a Circuit Court

judge, not a District Court judge. ECF 32.

       Article IV, Section 18 of the Maryland Constitution provides the Court of Appeals

authority to adopt rules regarding the administration of the courts and the Chief Judge authority to

assign a judge to sit temporarily in another court. The relevant provisions read:

       (a) The Court of Appeals from time to time shall adopt rules and regulations
           concerning the practice and procedure in and the administration of the appellate
           courts and in the other courts of this State, which shall have the force of law
           until rescinded, changed or modified by the Court of Appeals or otherwise by
           law. The power of courts other than the Court of Appeals to make rules of
           practice and procedure, or administrative rules, shall be subject to the rules and
           regulations adopted by the Court of Appeals or otherwise by law.

       (b) (1) The Chief Judge of the Court of Appeals shall be the administrative head
           of the Judicial system of the State. . . .

           (2) . . . the Chief Judge of the Court of Appeals may, in case of a vacancy, or
           of the illness, disqualification or other absence of a judge or for the purpose of
           relieving an accumulation of business in any court assign any judge except a
           judge of the Orphans’ Court to sit temporarily in any court except an
           Orphans’ Court.

Md. Const., art. IV, § 18. In accordance with that constitutional provision, the Maryland Court

of Appeals has adopted Md. Rule 16-108(b), which reads:

       The Chief Judge of the Court of Appeals, by order, may assign (1) a judge of the
       District Court, a circuit court, or an appellate court to sit temporarily in another
       court other than an Orphans’ Court, . . . . The order shall specify the court in which
       the judge is to sit and the duration of the assignment. While so assigned, the judge
       shall possess all of the power and authority of a judge of a court to which the judge
       is assigned.

       The Maryland Court of Appeals has reviewed the constitutionality of Rule 16-108 (and its

predecessor, Former Maryland Rule 1202(b)(1), which was recodified with minor amendments,




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see Murphy v. Liberty Mut. Ins. Co., 478 Md. 333, 381 n.54 (2022)).                The cases uphold

reassignments made by either the Chief Judge or the Circuit Administrative Judge. E.g., Strickland

v. State, 407 Md. 344 (2009) (upholding re-assignment by the Circuit Administrative Judge of a

motion for modification of sentence from one circuit judge to another circuit judge); Whitaker v.

Prince George’s County, 307 Md. 368 (1986) (upholding assignment by the Circuit Administrative

Judge of cases pending in the Circuit Court for Prince George’s County to a judge in the Circuit

Court for Calvert County); Baltimore Radio Show v. State, 193 Md. 300 (1949) (upholding Chief

Judge’s assignment of an Associate Judge of the Seventh Judicial Circuit to sit as a Judge of the

Criminal Court of Baltimore City and issue a citation for constructive contempt). Collectively,

these cases highlight the “broad administrative authority” granted by the state Constitution to the

Chief Judge to manage the courts. E.g., Strickland, 407 Md. at 357 (“Rule 16-101 reiterates the

broad administrative authority of the Chief Judge of the Court of Appeals”). “Whether it be by

the Court of Appeals directly or the circuit administrative judge as its alter ego in the circuit, this

power and authority encompasses all facets of the internal management of our courts.” Whitaker,

307 Md. at 376. The Court’s broad authority is also recognized in statute. Murphy, 478 Md. at

381 (citing CJ § 1-201(a) (providing that the Court’s power to issue rules and regulations

concerning practice and procedure and judicial administration in the courts is to be “liberally

construed”)).

       The July 1, 2019 Designation Order by Chief Judge Barbera reads:

       Under and by virtue of the authority contained in Section 18(b) of Article IV of the
       Constitution of Maryland and pursuant to Maryland Rule 16-102, I do hereby
       designate . . . the Honorable Paul J. Hanley, . . . , Associate Judges of the Third
       Judicial Circuit of Maryland (Baltimore County), to sit, either alone or with one or
       more other Judges, as Judges of the District Court of Maryland - District 8
       (Baltimore County), for the period from July 1, 2019 through June 30, 2020,
       inclusive . . . .

ECF 39-3.


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Chief Judge Barbera therefore did not violate the State Constitution or the Maryland Rules when

she assigned Judge Paul Hanley, a Circuit Court Judge, to sit temporarily as a District Court Judge.

And once an assignment is made, the assigned judge “shall possess all of the power and authority

of a judge of a court to which the judge is assigned.” Md. Rule 16-108(b). Therefore, Judge

Hanley possessed the same authority as a district court judge at the time he issued the search

warrant. 1

        Turning to the geographical argument, under the Maryland Constitution, the jurisdiction of

the District Court of Maryland is unified, meaning that each district judge’s jurisdiction is

statewide. Birchead v. State, 317 Md. 691, 699 (1989) (holding that district court judges may issue

a search warrant for execution in any other county of the State); cf. Gattus v. State, 204 Md. 589,

595 (1954) (holding that the power of circuit court judges to issue search warrants is limited to the

county in which they sit). Thus, Judge Hanley, through his assignment as a district court judge,

could properly issue a search warrant for the residence in Baltimore City despite his assignment to

the Baltimore County courts.

        Finally, even if Chief Judge Barbera’s Order had been deemed unconstitutional and the

search warrant invalid, the good faith exception would apply. United States v. Leon, 468 U.S. 897,

920 (1984); see, e.g., Handy v. United States, No. 10-CV-3437, 2012 WL 6617326, at *6 (D. Md.




1
 Mr. Poynter also asserts that the Order unconstitutionally designated the circuit court judges to
sit simultaneously as circuit court and district court judges. From the facts, it is unclear how Judge
Hanley was sitting simultaneously as both a Circuit Court Judge and District Court Judge. At best,
Judge Hanley signed the search warrant as a circuit court judge, but executed it using his district
judge powers. This could be viewed more as a clerical error on part of the judge rather than a
simultaneous act of powers. Even if this simultaneous use of judicial powers can be established,
Maryland case law emphasizes the “broad administrative authority” conferred by the state
constitution to the Court of Appeals and the Chief Judge to manage the courts and judges. Given
that precedent, it is unlikely that the Court of Appeals would consider this assignment a violation
of the state constitution.


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Dec. 18, 2012) (holding that the good faith exception applies when a circuit judge in Baltimore

City executes a warrant for Baltimore County beyond the judge’s jurisdiction). The goal of the

exclusionary rule is to deter police misconduct. United States v. Peltier, 422 U.S. 531, 542 (1975).

The rule does not apply when an officer acts in good faith and there is no misconduct to deter.

Leon, 468 U.S. at 920. These principles allow the officer some degree of deference to enacted

legal authorities. Illinois v. Krull, 480 U.S. 340, 349–50 (1987) (“Unless a statute is clearly

unconstitutional, an officer cannot be expected to question the judgment of the legislature that

passed the law”). As the analysis above demonstrates, Chief Judge Barbera’s Order appears to be

fully constitutional and is not “clearly unconstitutional” in a way that might trigger an officer’s

duty to question it. Moreover, Detective Feeley testified that he decided to present the warrant to

Judge Hanley because the States’ Attorney’s Office directed him to do so.             It would be

unreasonable to expect a police officer to be so well-versed in the intricacies of the Maryland

constitution that he should question the prosecutor’s instructions about which duty judge to

approach. Thus, Detective Feeley and the law enforcement officers who executed the warrant

acted in good faith in relying on Judge Hanley’s authority to issue the search warrant he signed.

Mr. Poynter’s motion to suppress the property seized in that search will therefore be denied.

   II.      Motion to Suppress Statements

         Following Mr. Poynter’s arrest on December 20, 2019, he was transported to Baltimore

County Police Department’s Headquarters to be processed and interviewed. A video of

Mr. Poynter’s detention and interview was provided to the Court in camera and relevant excerpts

were played during the motions hearing. See Ex. 3. The interviewing detective, Detective Feeley,

also testified at the hearing. Mr. Poynter raises several arguments to suggest that his statements

were involuntary: (1) that his statements were involuntary because he had been physically




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assaulted by one or more officers; (2) that he had invoked his right to counsel and had not re-

initiated conversation with the officers; and (3) that he never formally waived his Miranda rights

because the waiver question on the form was not read to him.

       Beginning with the assault, the Fifth Amendment’s prohibition on self-incrimination

requires that a confession be voluntary. Bram v. United States, 168 U.S. 532, 542 (1897); Oregon

v. Elstad, 470 U.S. 298, 304–05 (1985).            While there is “no talismanic definition of

‘voluntariness,’” Schneckloth v. Bustamonte, 412 U.S. 218, 224 (1973), courts consider:

       Is the confession the product of an essentially free and unconstrained choice by its
       maker? If it is, if he has willed to confess, it may be used against him. If it is not,
       if his will has been overborne and his capacity for self-determination critically
       impaired, the use of his confession offends due process.

Id. at 225–26. In determining whether a defendant’s will was overborne in a particular case, courts

assess the totality of circumstances, including factors like “the length of detention,” “the repeated

and prolonged nature of the questioning,” and “the use of physical punishment such as the

deprivation of food or sleep” to assess “the psychological impact on the accused.” Id. at 226

(internal citations omitted). As the Fourth Circuit has explained, “[t]he ultimate question is

whether the pressure, in whatever form, was sufficient to cause the petitioner’s will to be overborne

and his capacity for self-determination to be critically impaired.” Ferguson v. Boyd, 566 F.2d 873,

877 (4th Cir. 1977).

       The use of physical violence to coerce or extort a confession is universally rejected by the

courts. See Brown v. Mississippi, 297 U.S. 278 (1936) (holding that a criminal conviction based

upon a confession obtained by brutality and violence was constitutionally invalid under the Due

Process Clause of the Fourteenth Amendment); see also Stein v. New York, 346 U.S. 156, 182

(1953), overruled on other grounds by Jackson v. Denno, 378 U.S. 368 (1964) (“Physical violence

or threat of it by the custodian of a prisoner during detention serves no lawful purpose, invalidates



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confessions that otherwise would be convincing, and is universally condemned by the law. When

present, there is no need to weigh or measure its effects on the will of the individual victim.”).

“The mere existence of threats, violence, implied promises, improper influence, or other coercive

police activity, however, does not automatically render a confession involuntary.” United States

v. Braxton, 112 F.3d 777, 780 (4th Cir. 1997).

        Here, the officers did not employ physical violence to coerce Mr. Poynter to talk. The

officers treated Mr. Poynter in an entirely non-confrontational manner until he began to engage in

aggressive behavior by throwing a chair and resisting restraint of his left hand. The ensuing

physical altercation in an effort to restore order does not automatically render Mr. Poynter’s

confession inadmissible. Braxton, 112 F.3d at 780. The question is whether the physical violence

in fact “cause[d] [Mr. Poynter’s] will to be overborne.” Ferguson, 566 F.2d at 877. It is clear

from the video that Mr. Poynter was already asking to talk to officers prior to the altercation. Ex.

3 at 12:26:05 (asking one of the officers when someone will come in to talk to him); 12:51:26

(asking a detective the same); 12:54:23 (asking a new officer whether he is the one he is supposed

to talk to); 12:55:21 (demanding the lead officer come to talk to him). After the altercation, Mr.

Poynter (1) was left alone for several minutes to “cool down,” (2) was afforded the opportunity to

leave the room with medical personnel to obtain further treatment, without talking to the officers,

and (3) had further opportunity to consider his options about whether to provide information to the

detectives, see Ex. 3 at 1:40:26 (“If I were to say that I don’t want to talk, would I be arrested, that

is the question I want to ask.”). Thus, it is clear that the isolated incident of physical violence did

not cause Mr. Poynter’s will to be overborne or render his subsequent statements involuntary.

        The next question is whether Mr. Poynter’s right to counsel was violated when he was

interrogated without counsel present. “If the individual states that he wants an attorney, the




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interrogation must cease until an attorney is present.” Miranda v. Arizona, 384 U.S. 436, 474

(1966). Once invoked, however, the right to counsel can be waived, though waiver is the

Government’s burden to prove. Id. at 475. Waiver “cannot be established by showing only that

[a defendant] responded to further police-initiated custodial interrogation even if he has been

advised of his rights.” Edwards v. Arizona, 451 U.S. 477, 484 (1981). Instead, waiver occurs only

where “the accused himself initiates further communication, exchanges, or conversations with the

police.” Id. at 484–85. “But even if a [subsequent] conversation [] is initiated by the accused,

where reinterrogation follows, the burden remains upon the prosecution to show that subsequent

events indicated a waiver of the Fifth Amendment right to have counsel present during the

interrogation.” Oregon v. Bradshaw, 462 U.S. 1039, 1044 (1983). Any waiver must be voluntary

and knowing, based on the totality of the evidence. Edwards, 451 U.S. at 482 (“It is reasonably

clear under our cases that waivers of counsel must not only be voluntary, but must also constitute

a knowing and intelligent relinquishment or abandonment of a known right or privilege, a matter

which depends in each case ‘upon the particular facts and circumstances surrounding that case,

including the background, experience, and conduct of the accused.’”).

       Here, Mr. Poynter unambiguously requested counsel. See Ex. 3 at 12:24:00 (“I want a

lawyer, that’s what I want, I want a lawyer. C’mon, either arrest me or take me to jail, whatever

you want to do, I want a lawyer.”). The question, then, is whether he subsequently voluntarily and

knowingly “initiate[d] further communication, exchanges, or conversations with the police.”

Edwards, 451 U.S. at 482, 484–85.

       The question of “initiation” is complicated here by the following interaction between

Mr. Poynter and one of the detectives:

               Mr. Poynter:     Well where’s the [lead detective] at?




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               Detective:        He’s on the floor, he’ll be with you when he gets a chance.

               Mr. Poynter:      I’m being locked up, so can I be straight taken down to
                                 bookings?

               Detective:        Well not right now, he wants to talk to you for a second and
                                 explain to you what’s going on, don’t you want to hear what’s
                                 going on?

               Mr. Poynter:      I want him here now, man.

               Detective:        Well, that’s tough, you don’t have that choice right now . . .
                                 yeah, yeah, you’re under arrest, it’s not a problem.

               Mr. Poynter:      Well, take me down to bookings, why am I not in bookings, why
                                 am I in here?

               Detective:        Because we have to go through some procedures first.

               Mr. Poynter:      Well, what if I don’t want to talk.

               Detective:        You’ve got to tell it to the officer, the detective, that’s all.

Ex. 3 at 12:55:21. The detective expressly told Mr. Poynter that he had to talk to the lead detective

before he could leave the interrogation room and go to Central Booking. With this understanding,

Mr. Poynter’s continued requests “to talk to” to the lead detective could be interpreted as

attempting to terminate the interrogation and proceed through the booking process, not a desire to

waive his invoked right to counsel. See, e.g., Ex. 3 at 12:26:05 (asking one of the officers when

someone will come in to talk to him); 12:51:26 (asking a detective the same); 12:54:23 (asking a

new officer whether he is the one he is supposed to talk to); 12:55:21 (demanding the lead officer

come to talk to him); 1:01:51 (following the altercation, saying “I am ready to talk so we can get

this over with. … they gotta talk to me.”). If interrogation had begun at this point in the exchange,

the presumption against waiver likely would have warranted suppression of Mr. Poynter’s

statements, in light of his plausible alternative motive to be freed from the confines of the

interrogation room.



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        A critical intervening circumstance, however, demonstrated Mr. Poynter’s genuine desire

to reinitiate case-related conversations with the officers, despite not having counsel on site. Cf.

United States v. Ventura, No. 10-CR-0770, 2013 WL 1455278, at *15 (D. Md. Apr. 8, 2013)

(accused waived his invoked right to counsel “through his repeated assertions that he wanted to

talk to the detectives immediately”). At Mr. Poynter’s request, officers called emergency medical

technicians (“EMTs”) to the interrogation room to evaluate whether Mr. Poynter had been injured

during the altercation. The EMTs told Mr. Poynter they would transport him to the hospital for

further evaluation. Instead, Mr. Poynter asked the detective in the room, “What this is all about?”

and expressed his desire to talk to the lead detective. See Ex. 3 at 1:28–1:31. He then refused

transport with the EMTs. When they asked why, Mr. Poynter responded, “I want to get out, I

really want to go [to the hospital], but I want to talk to the detective first.” Id. at 1:34:36. At that

point, it is clear that Mr. Poynter wished to engage with the detective about the case, at least to

glean information from him. Mr. Poynter’s alternate potential motivation, simply trying to “check

the box” of meeting with the detective in order to leave the room, no longer applied because the

EMTs were willing to remove Mr. Poynter from the premises before any such meeting. Thus,

during the exchange with the EMTs, Mr. Poynter unequivocally reinitiated voluntary contact with

the officers, without the presence of his attorney.

        Finally, Mr. Poynter’s contention that he could not have waived his Miranda rights because

he was never expressly asked to waive them lacks merit. “To effectuate a waiver of one’s Miranda

rights, a suspect need not utter any particular words.” United States v. Umana, 750 F.3d 320, 344

(4th Cir. 2014) (quoting Burket v. Angelone, 208 F.3d 172, 198 (4th Cir.2000)) (internal quotation

marks omitted). In fact, “[a] suspect impliedly waives his Miranda rights when he acknowledges

that he understands the Miranda warning and then subsequently is willing to answer questions.”




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Id. (citing United States v. Frankson, 83 F.3d 79, 82 (4th Cir. 1996)). Put another way, “[w]here

the prosecution shows that a Miranda warning was given and that it was understood by the

accused, an accused’s uncoerced statement establishes an implied waiver of the right to remain

silent.” Berghuis v. Thompkins, 560 U.S. 370, 384 (2010).

          The video evidence in this case reflects that precise situation. The detective advised

Mr. Poynter of each of his Miranda rights, and Mr. Poynter responded that he understood each

right. His follow up question to the officer demonstrates his understanding that he did not have to

speak with the officers. See Ex. 3 at 1:40:26 (“If I were to say that I don’t want to talk, would I be

arrested, that is the question I want to ask.”). During the exchange, then, Mr. Poynter proceeded

to make uncoerced statements to the officers. In light of the evidence of his valid Miranda waiver,

those statements are properly admissible at his trial.

   III.      Conclusion
          For the reasons stated herein, Mr. Poynter’s motions, ECF 32 and 33, are DENIED. A

separate order accompanies this Memorandum Opinion.



Dated: September 13, 2022                                                     /s/
                                                              Stephanie A. Gallagher
                                                              United States District Judge




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